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D'AMATO DECLARATION
      EXHIBIT B
  FILED UNDER SEAL
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                                                                                      Page 1
 1                 UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN JOSE DIVISION
 4
 5   APPLE INC., a California
     corporation,
 6

                     Plaintiff,
 7

     vs.                                           CASE NO.               11-cv-01846-LHK
 8

     SAMSUNG ELECTRONICS CO.,
 9   LTD., a Korean business
     entity; SAMSUNG ELECTRONICS
10   AMERICA,INC., a New York
     corporation; SAMSUNG
11   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited
12   liability company,
13                Defendants.
     ____________________________/
14
15
16            H I G H L Y   C O N F I D E N T I A L
17             O U T S I D E C O U N S E L O N L Y
18
19            VIDEOTAPED DEPOSITION OF JONATHAN IVE
20                 SAN FRANCISCO, CALIFORNIA
21                 THURSDAY, DECEMBER 1, 2011
22
23   BY: ANDREA M. IGNACIO HOWARD, CSR, RPR, CCRR, CLR
24   CSR LICENSE NO. 9830
25   JOB NO. 43920

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                                                                           Page 5
 1            MR. ZHANG:         Patrick Zhang, Morrison &
 2   Foerster, for Apple.
 3            THE VIDEOGRAPHER:                Will the court reporter
 4   please swear in the witness.
 5

 6                               JONATHAN IVE,
 7                 having been sworn as a witness
 8             by the Certified Shorthand Reporter,
 9                       testified as follows:
10

11            THE VIDEOGRAPHER:                You may proceed.
12

13                    EXAMINATION BY MR. ZELLER
14            MR. ZELLER:          Q.      Good morning.
15       A    Good morning.
16       Q    I understand you've had the pleasure of being
17   deposed at least a couple of times before, but one, if
18   I understand correctly, and tell me if -- if you
19   recall this, was a case called Apple versus Future
20   Power?
21       A    Yes, I do recall.
22       Q    All right.
23            And generally speaking, that was about the
24   iMac?
25       A    Yes.

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                                                                          Page 160
 1             We are off the record at 4:02 p.m.
 2             (Recess taken.)
 3             THE VIDEOGRAPHER:               This is the beginning of
 4   Disc No. 5, Volume I.
 5             We are back on the record at 4:25 p.m.
 6             You may proceed.
 7             MR. ZELLER:         Q.      What I'd like to show you is
 8   a three-dimensional mockup of a tablet that's been
 9   produced by Apple in this case, and it's generally
10   known as the 035 mockup or -- or prototype, and please
11   take a look at that.
12             Have you seen the 035 mockup before?
13      A      Yes, I have.
14      Q      And when do you remember first seeing the 035
15   mockup?
16      A      My recollection of -- of first seeing it is
17   very hazy, but it was, I'm guessing, sometime between
18   2002 and 2004, some -- but it was -- I remember seeing
19   this and -- and perhaps models similar to this when we
20   were first exploring tablet designs that ultimately
21   became the iPad.
22      Q      Do you recognize the 035 mockup as a mockup
23   that the Apple model shop produced?
24      A      I actually don't know which model shop
25   made -- made this, but I recognize this as a model

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 1   that was produced during our exploration.
 2       Q     Do you recall if the -- the group that
 3   produced the actual physical model of this 035 mockup
 4   was an internal group or whether it was an outside
 5   vendor?
 6       A     I have no -- no recollection.
 7       Q     Is the 035 mockup a tablet design that you
 8   personally worked on?
 9       A     It was -- the best of my recollection, this
10   was a design that was modeled as a consequence of the
11   way that we work, which is as a team.
12       Q     Do you recognize the 03 mockup design as a
13   design that you, among other people, invented?
14       A     You said 03.
15       Q     '5 mockup, the physical one that you have in
16   front of you?
17       A     Yes, I recognize this as one of -- one of the
18   models that we made as part of the design process, as
19   part of the exploration.
20             Where my recollection is hazy is trying to
21   remember, you know, at what point in the exploration
22   we made this, the circumstances around making it.
23             But I certainly recognize it as a model that
24   we made as part of that exploration.
25       Q     Is the design that's shown in the                          '889

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 1   design patent, which is marked as Exhibit 8, the same
 2   design as the 035 mockup?
 3       A     I think that there are many similarities.
 4       Q     Apart from being able to say that there are
 5   many similarities, can you tell me with any certainty
 6   one way or another whether the design that's shown in
 7   the '889 design patent is the same design as the 035
 8   mockup?
 9             MR. JACOBS:           Objection; lacks foundation.
10             THE WITNESS:            I can say confidently that
11   there are many, many elements that are represented in
12   this model that I see in our patent.
13             MR. ZELLER:           Q.      And can you tell me anything
14   beyond that with any certainty in terms of whether
15   that's the same design or not?
16       A     I think I -- I think I've done my best to
17   answer the question, which is I think there are many
18   elements that I see here that I see in our design
19   patent.
20       Q     Are you aware of any three-dimensional
21   models --
22       A     Yeah.
23       Q     -- of any tablet designs that were created
24   prior to March 17, 2004, that was closer in its
25   appearance to the design that's shown in the

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                                                                               Page 163
 1   '889 design patent than the 035 mockup?
 2       A    I'm not aware of any that are closer or less
 3   close.   I recall this model; I, of course, recall this
 4   patent, and I can see many similarities.
 5       Q    Is it your best understanding that the model
 6   that was created to reflect the design that's shown
 7   here in the '889 design patent is the 035 mockup, or
 8   is it your impression that there's another mockup that
 9   was a rendition -- a three-dimensional rendition of
10   the '889 design?
11            MR. JACOBS:          Objection; lacks foundation.
12            THE WITNESS:           Yes, and I'm afraid I also
13   don't understand your question.                       You said is there
14   another model that reflects this.
15            My sense is that we would make a model, and
16   then from what we learned, we would then work on
17   defining a patent, not the other way around.
18            MR. ZELLER:          And that's fair enough.                So let
19   me -- let me rephrase it.
20       Q    You have in front of you the 035 mockup.
21       A    Yes.
22       Q    And I'll tell you, that's -- that's the one
23   that we have here.
24       A    Yes.
25       Q    And so what I'm really trying to find out is:

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